        Case 2:17-cr-00021-DLC Document 30 Filed 02/01/18 Page 1 of 2




                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                            BUTTE DIVISION


 UNITED STATES OF AMERICA,
                                                   CR 17-21-BU-DLC
                         Plaintiff,

        vs.                                          ORDER

 MARK ANTHONY GALE,

                         Defendant.

      Before the Court is Defendant's Unopposed Motion to Allow Counsel to

Provide Client with a Copy of Discovery (Doc. 29).      The United States does not

oppose this Motion on the contingency that Defendant be prohibited from sharing,

distributing, or duplicating the discovery documents disclosed to him.      As an

additional matter, the Court is satisfied that L.R. CR 16.4 is inapplicable to the

requested disclosures.     Accordingly,

      IT IS ORDERED that Defendant's Unopposed Motion to Allow Counsel to

Provide Client with a Copy of Discovery (Doc. 29) is GRANTED.

      IT IS FURTHER ORDERED that Defendant is hereby prohibited from

sharing, distributing, or duplicating the documentation disclosed to him.



                                          -1-
  Case 2:17-cr-00021-DLC Document 30 Filed 02/01/18 Page 2 of 2



DATED this (st day of February, 2   8.




                             Dana L. Christensen, Chief Judge
                             United States District Court




                              -2-
